                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF OREGON

In re                                           )
                                                )           16-33185-pcm7
                                                    Case No._______________
PETER SZANTO,                                   )
                                                )   CHAPTER 7 TRUSTEE’S
                                                )   INTERIM REPORT
                                                )              2
                                                    NUMBER _______
Debtor(s)                                       )

                         Stephen P. Arnot
      The trustee, ____________________________________, reports upon the financial condition of the estate and
progress of its administration as follows:
                                                      Amounts Since                  Total From Date Case
   Estate Monies                                         Last Report                  Began Under Ch. 7
1. Receipts                                                         807,492.16
                                                            $__________________             $                807,492.16
    Disbursements                                                      15,791.67
                                                            $__________________             $                108,288.10
    BALANCE ON HAND                                                   791,700.49            $                699,204.06

2. The following estate property has not yet been liquidated:
   Turnover of funds debtor transferred overseas to HSBC Singapore and Australia. Turnover of funds by
   Bank of America and E-Trade held in the account of Yankee Trust Corp. that constitute estate property.
   Complete tracing miscellaneous funds disbursed from debtor's accounts during Chapter 11.

3. The trustee proposes to take the following action to liquidate the property mentioned in paragraph 2 (Do not include
   payments owing by the debtor(s), but not yet due):
   Turnover of funds debtor transferred overseas to HSBC Singapore and Australia. Turnover of funds held
   in the account of Yankee Trust Corp. that constitute estate property. Complete tracing miscellaneous
   funds disbursed from debtor's accounts during Chapter 11.
4. The trustee expects to complete liquidation of the assets and file a final account (Give expected date or estimated
   period of time):
   December 2019

                                        20,285.13
5. The trustee believes the sum of $______________      could be disbursed for interim compensation and administrative
   expenses at this time without jeopardizing the viability of the estate.

6. The trustee expects to make a distribution to creditors (Give expected date or estimated period of time, or if stating
   "NONE" then also state reasons why not):
   Payments to creditors are deferred to allow the debtor and creditors to resolve the amounts due creditors
   under the pending adversary proceedings. After resolution, the Trustee will apply to make an interim
   distribution to all creditors.
7. The Court has appointed the following professionals to perform duties in this case (Provide names and types of duties
   only if the persons have not received final compensation):
    Williams Kastner Greene & Markley


                                                                 0.00
8. The trustee is currently obligated to pay a maximum of $_______________ for administrative expenses owed to non-
   professionals. [If case converted from Chapter 11 to 7] The maximum amount of all timely filed claims for Chapter
                                            0.00
   11 administrative expenses is $_______________.

9. Additional comments:
   The Trustee is only requesting $20,285.10 of the $43,624 commission based on gross receipts and
   projected distribution to creditors. See Schedule C to Interim Application for fees filed contemporaneously
   herewith.
           10/11/18
    DATE:__________
                                                                                    /s/ Stephen P. Arnot
                                                                           ___________________________________
753 (12/12/88)                                                                             Trustee
                                Case 16-33185-pcm7         Doc 596      Filed 10/11/18
